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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Lester Dobbey
                                Plaintiff,
v.                                                    Case No.: 1:13−cv−01068
                                                      Honorable Andrea R. Wood
Michael Studer, et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, August 9, 2024:


        MINUTE entry before the Honorable Andrea R. Wood: Before the Court is
Plaintiffs' motion for entry of unopposed preliminary injunction order [384]. Having
considered Plaintiffs' motion for entry of unopposed preliminary injunction order [384], as
well as Plaintiffs' motion for preliminary injunction [372] and supporting materials [373],
[376], Plaintiffs' motion for entry of unopposed preliminary injunction order [384] is
granted. Enter Preliminary Injunction Order. The parties have agreed that no security need
be given. The preliminary injunction shall expire 90 days after its entry unless the Court
enters a final order before then consistent with 18 U.S.C. § 3626(a)(2). In Court status
hearing set for 8/12/2024 [383] is stricken. Telephonic settlement conference set for
8/26/2024 [370] remains firm. Mailed notice (lma, )




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